 Case: 1:22-cv-06862 Document #: 32 Filed: 08/25/23 Page 1 of 1 PageID #:1766

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Emoji Company GmbH
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:22−cv−06862
                                                                        Honorable Steven
                                                                        C. Seeger
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto
                                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 25, 2023:


        MINUTE entry before the Honorable Steven C. Seeger: By September 1, 2023,
Plaintiff must show cause why every defendant except one should not be dismissed for
improper joinder. Mailed notice(jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
